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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

IN RE:                                   §             Case No. 22-60043
                                         §
FREE SPEECH SYSTEMS, LLC,                §             Chapter 11 (Subchapter V)
                                         §
      Debtor.                            §

   SANDY HOOK FAMILIES’ JOINDER TO UNITED STATES TRUSTEE’S
   AMENDED OBJECTION TO THE APPLICATION OF DEBTOR FOR AN
   ORDER (A) AUTHORIZING EMPLOYMENT OF SHANNON & LEE LLP
          AS BANKRUPTCY CO-COUNSEL FOR THE DEBTOR
               AND (B) GRANTING RELATED RELIEF
                 [Related to ECF Nos. 85 and 154]

      Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel

Fontaine (collectively the Texas Plaintiffs) and David Wheeler, Francine Wheeler,

Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna

Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William

Sherlach, and Robert Parker (collectively the Connecticut Plaintiffs) (and together

the Sandy Hook Families) hereby file this joinder (Joinder) to the United States Trustee’s

Amended Objection to the Application of Debtor for an Order (A) Authorizing the

Employment of Shannon & Lee LLP as Bankruptcy Co-Counsel for the Debtor and

(B) Granting Related Relief (the Objection) [Dkt. 154], filed in response to Application of

the Debtor for an Order (A) Authorizing the Employment of Shannon & Lee LLP as

Bankruptcy Co-Counsel to the Debtor and (B) Granting Related Relief (the Employment

Application) [Dkt. 85]. In support of this Joinder, the Sandy Hook Families state as

follows:

      1.      The Sandy Hook Families join in, and hereby incorporate by reference, the

arguments made by the United States Trustee in the Objection.




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      2.     The Debtor filed its Employment Application on August 20, 2022.

      3.     The United States Trustee filed the Objection on September 14, 2022.

      4.     For the reasons stated in the Objection and this Joinder, the Sandy Hook

Families respectfully request that the Court deny the Employment Application and grant

such other and further relief as it may deem just and proper.

      Respectfully submitted this 15th day of September 2022.

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                                         and

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                                       Bankruptcy Counsel for Connecticut
                                       Plaintiffs


                           CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Joinder has been
served on counsel for Debtor, Debtor, and all parties receiving or entitled to notice
through CM/ECF on this 15th day of September 2022.


                                             /s/ Ryan E. Chapple
                                       Ryan E. Chapple




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